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                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                                                                                     November 17, 2016
                        IN THE UNITED STATES DISTRICT COURT
                                                                                      David J. Bradley, Clerk

                        FOR THE SOUTHERN DISTRICT OF TEXAS

                                    GALVESTON DIVISION

UNITED STATES OF AMERICA                        §
                                                §
VS.                                             §   CRIMINAL NO. G-16-CR-15 (8)
                                                §
GABRIEL SANTIAGO-OCHOA                          §

                        ORDER OF DETENTION PENDING TRIAL

       On November 16, 2016, this Court convened a Detention Hearing in regard to the

Defendant, Gabriel Santiago-Ochoa. Having considered the report of the Pretrial Services

Officer recommending detention and the fact that Santiago-Ochoa is presently in the constructive

custody of U.S. Immigration and Customs Enforcement subject to a final Order of Removal, the

Court makes the following findings of fact and conclusions of law.

       Since Santiago-Ochoa presently has no legitimate claim to a liberty interest that would

justify an immediate or meaningful detention determination under 18 U.S.C. § 3142(f), it is the

ORDER of this Court that good cause exists to postpone the need for such a determination until

such time, if any, as Santiago-Ochoa can maintain a legitimate liberty interest before this Court.

See United States v. King, 818 F.2d 112, 114 (1st Cir. 1987). Accordingly, the Court finds that

there is no need to make a detention determination at this time.

       It is, therefore, ORDERED that the Defendant, Gabriel Santiago-Ochoa, be, and he is

hereby, COMMITTED to the custody of the Attorney General or his designated representative

for confinement in a corrections facility.

       It is further ORDERED that the Defendant, Gabriel Santiago-Ochoa, SHALL be

afforded a reasonable opportunity for private consultation with defense counsel.
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       It is further ORDERED that upon Order of a Court of the United States or upon request

of an attorney for the Government, the person in charge of the corrections facility SHALL deliver

the Defendant, Gabriel Santiago-Ochoa, to the United States Marshal for the purpose of an

appearance in connection with a Court proceeding.

       DONE at Galveston, Texas, this          17th           day of November, 2016.




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